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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                 Plaintiff,
                                                               File No: 1:07-CR-84
v.
                                                               HON. ROBERT J. JONKER
PAUL RANDOLPH TUTHILL,

                 Defendant.
                                         /


                               ORDER AND JUDGMENT
                      APPROVING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was served on the parties, and

no objection has been filed within the time required by law.

         THEREFORE, IT IS ORDERED that:

         1.      The Report and Recommendation of the Magistrate Judge (docket # 73) is approved

and adopted as the opinion of the Court.

         2.      Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Count 1 of the Indictment.

         3.      The written plea agreement is continued under advisement pending sentencing.




Dated:        September 17, 2007              /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              UNITED STATES DISTRICT JUDGE
